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                                        September 7, 2018

BY CM/ECF

The Honorable Richard G. Andrews
U.S. District Court for the District of Delaware
U.S. Courthouse
844 North King Street
Wilmington, DE 19801

               Re:    Walgreen Co. v. Theranos, Inc.,
                      C.A. No. 18-989-RGA (D. Del.)


Dear Judge Andrews:

        I write on behalf of the parties to request that the Rule 16 conference scheduled for
September 10, 2018 at 2:30 p.m. (D.I. 10), be converted to a telephonic conference. The parties
reached complete agreement on the proposed scheduling order (D.I. 11). Accordingly, in the
interest of convenience to the Court and the parties, the parties jointly request that the Rule 16
conference be converted to a telephonic conference.


                                                     Respectfully,

                                                     /s/ Kevin R. Shannon

                                                     Kevin R. Shannon (#3137)



cc:   All Counsel of Record – by CM/ECF and E-mail
